          Case 1:21-cr-00552-DLF Document 127 Filed 05/17/23 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
        v.                                  :                   Criminal Case No.
                                            :
KENNETH JOSEPH OWEN THOMAS,                 :                   1:21-cr-00552 (CRC)
                                            :
                  Defendant                 :
                                           :
___________________________________________

              DEFENDANT’S PROFFER AS TO ANTICIPATED WITNESSES
                                Steven K. Hill

         Defendant KENNETH JOSEPH OWEN THOMAS (“Thomas”), through the undersigned

counsel, John M. Pierce, Esq. and Roger Roots, Esq., and hereby responds to the verbal Order of

the Court to explain the expected testimony of the witnesses that the Defendant expects to call at

trial.

         Initially, Defendant reserves and notes his objection that this procedure is unduly

burdensome for an under-funded Defendant’s legal team, as with most January 6 Defendants, but

not shouldered in like manner by the well-funded U.S. Department of Justice with regard to its

witnesses. Almost everything about these cases – rushed to court with many years left to run on

statutes of limitations, but clearly not ready for prime time – seems geared towards swamping the

few attorneys willing to provide a legal defense to these accused citizens.


I. PROFERRED TESTIMONY OF STEVEN K. HILL

         Steven K. Hill has 25 years of local law enforcement experience, now retired from his

police work. He has 3 years of experience with U.S State Department Anti-Terrorism Assistance



                                                  1
         Case 1:21-cr-00552-DLF Document 127 Filed 05/17/23 Page 2 of 4




Program (ATAP) teaching foreign nationals in the areas of security, tactical operations and

officer safety. Hill has 8 years of law enforcement management experience. He is a military

veteran with 6 years in United States Air Force/military police. 6 years of experience as

Vulnerability Analyst for DOE (SNL-OST and GTRI).

       Steven K. Hill has spent hundreds of hours analyzing the video produced by the

Government for this case and for many other January 6 Defendants (although the Government

has mostly distributed “Global Production” releases of videos and documents and other

information common to most or all Defendants). He also analyzed the radio traffic among law

enforcement officers happening simultaneously with the events shown on videos to correlate

what was actually happening between both video views and the chatter and commands. Hill has

studied the training and procedures manuals of the U.S. Capitol Police and Washington, D.C.

Metropolitan Police Department to the extent the Government has not violated Brady v.

Maryland by withholding material, to help understand what the officers are doing in each video

and scene, what they are supposed to be doing and what they are not supposed to be doing.

       Having studied the locations around the U.S. Capitol and the security camera surveillance

videos and police officer body-worn camera video and smart phone “civilian video” recordings,

Steven K. Hill could satisfy the requirements to admit videos showing the events at issue in this

case into evidence into the record.

       Steven K. Hill can also testify to how these various video scenes fit together as being

parts of the overall action and introduce any relevant radio transmissions among law

enforcement officers as evidence into the record. He can testify to what is not shown on any of

the videos that he has exhaustively reviewed. Hill can describe and point out in replay and slow

motion modes fast-moving events on some of the videos to help the jury track what is happening,

                                                2
         Case 1:21-cr-00552-DLF Document 127 Filed 05/17/23 Page 3 of 4




where people exit one video and appear in another video, etc.


Dated: May 17, 2023                          RESPECTFULLY SUBMITTED
                                             KENNETH JOSEPH OWEN THOMAS,

                                             By Counsel

                                             ________/s/_____________________
                                             Roger Root, Esq.
                                             John Pierce Law Firm
                                             21550 Oxnard Street
                                             3rd Floor, PMB #172
                                             Woodland Hills, CA 91367
                                             Tel: (213) 400-0725
                                             Email: jpierce@johnpiercelaw.com
                                             Attorney for Defendant

                                     CERTIFICATE OF SERVICE

        I hereby certify that this document is being filed on this May 17, 2023, with the Clerk of
the Court by using the U.S. District Court for the District of Columbia’s CM/ECF system, which
will send an electronic copy of to the following CM/ECF participants. From my review of the
PACER account for this case the following attorneys are enrolled to receive notice and a copy
through the ECF system.
                                       MATTHEW M. GRAVES
                                       United States Attorney
                                       D.C. Bar No. 481052

                                     SAMANTHA R. MILLER
                                     Assistant United States Attorney
                                     New York Bar No. 5342175
                                     United States Attorney’s Office
                                     601 D Street, NW
                                     Washington, DC 20530
                                     Samantha.Miller@usdoj.gov

                                     SEAN P. McCAULEY
                                     Assistant United States Attorney
                                     New York Bar No. 5600523
                                     United States Attorney’s Office
                                     For the District of Columbia
                                     601 D. Street, NW
                                     Washington, DC 20530
                                     Sean.McCauley@usdoj.gov


                                                3
Case 1:21-cr-00552-DLF Document 127 Filed 05/17/23 Page 4 of 4




                      ________/s/_____________________
                      Roger Root, Esq.




                              4
